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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

DEBRA MATLOCK,                                    )
                                                  )
               Plaintiff,                         )
                                                  )          No. 23-cv-15194
       v.                                         )
                                                  )          Judge April M. Perry
THE BOARD OF TRUSTEES OF                          )
THE UNIVERSITY OF ILLINOIS,                       )
                                                  )
               Defendant.                         )

                                    OPINION AND ORDER

       Plaintiff Debra Matlock (“Plaintiff”) brings this employment discrimination and

retaliation case against the Board of Trustees of the University of Illinois (“Defendant”) under 42

U.S.C. § 1981 (“Section 1981”), Title VII of the Civil Rights Act of 1964 (“Title VII”), and the

Age Discrimination in Employment Act (“ADEA”). Specifically, Plaintiff alleges that Defendant

subjected her to a hostile work environment based on race in violation of Section 1981 (Count I),

disparate treatment based on race in violation of Section 1981 (Count II), retaliation in violation

of Section 1981 (Count III), hostile work environment based on race and gender in violation of

Title VII (Count IV), disparate treatment based on race and gender in violation of Title VII

(Count V), retaliation in violation of Title VII (Count VI), hostile work environment in violation

of the ADEA (Count VII), disparate treatment in violation of the ADEA (Count VIII), and

retaliation in violation of the ADEA (Count IX). Doc. 36 ¶¶ 49-99. Defendant now moves for

dismissal of Plaintiff’s hostile work environment and retaliation claims under Rule 12(b)(6).

Doc. 41 at 1. For the following reasons, Defendant’s motion is granted in part.

                                        BACKGROUND
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       As is appropriate in deciding a motion to dismiss, the Court accepts the facts in Plaintiff's

complaint as true and views them in the light most favorable to her. See Killingsworth v. HSBC

Bank Nev., N.A., 507 F.3d 614, 618 (7th Cir. 2007).

       Plaintiff is a Black female who was born in 1952. Doc. 36 ¶ 6. In September 2014,

Plaintiff was hired as Director of Defendant’s Purchasing and Contract Management

Department, which is responsible for procurement for Defendant’s colleges, administrative

departments, hospitals, and clinics. Id. ¶¶ 7, 16. Plaintiff alleges that she was the only minority

Director employed by Defendant, and that she was repeatedly discriminated against, harassed,

and retaliated against because of her protected characteristics. Id. ¶ 2.

       The first incident Plaintiff complains of began in November 2018 when Plaintiff was

involved in negotiations for a new electronic procurement system. Id. ¶ 18. During the

negotiations, Plaintiff felt as though several of her team members were delaying the negotiations.

Id. ¶ 19. Time was of the essence, so Plaintiff attempted to create a sense of urgency within the

team which Plaintiff alleges was inaccurately and inappropriately mischaracterized as bullying.

Id. Although the negotiations ended successfully for Defendant, Plaintiff claims that her success

was met with “discriminatory hostility” from her supervisory chain. Id. ¶¶ 20-22. For example,

Plaintiff alleges that she was isolated from communications with the software vendor and the

negotiations team and was not allowed to execute the deal. Id. ¶ 22. Plaintiff also alleges that

she was “scolded,” was told that she needed to be “less sensitive,” and was labeled as aggressive

and hostile. Id. ¶¶ 24-25. As an example of this, Plaintiff points to a June 29, 2020 letter in which

Plaintiff’s supervisor told Plaintiff that she had “made improvement in toning down …

aggressive demeanor towards various System office staff,” but still needed to “[d]isplay more

empathy and less ego,” “display more civil behavior,” and “be less aggressive.” Id.



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       The second incident Plaintiff complains of involved a delayed promotion and a raise that

never materialized. Specifically, on January 24, 2020, Plaintiff’s supervisor informed Plaintiff

that Plaintiff would be promoted to Executive Director and receive a pay raise. Id. ¶ 28.

However, Plaintiff’s supervisor subsequently told Plaintiff that the supervisor had missed the

deadline to present the promotion to the Board of Trustees for approval. Id. ¶ 29. On January 15,

2021, Plaintiff’s title was officially changed to Executive Director, but Plaintiff’s salary was not

increased because there was purportedly no money in the budget for the raise. Id. ¶¶ 30-31.

During this same timeframe, Plaintiff alleges that other non-Black employees with less

experience were promoted and received salary increases without needing Board approval. Id. ¶¶

33, 36. As of the time the complaint was filed, Plaintiff alleges that she was still employed by

Defendant as Executive Director but had not received the appropriate raise. Id. ¶ 37.

       Finally, Plaintiff complains about pressure from supervisors to retire. In September 2022,

a younger white male subordinate allegedly received a competing employment offer and told

Defendant he would stay on the condition that he would succeed Plaintiff. Id. ¶ 39. Plaintiff’s

supervisors then met with Plaintiff and told Plaintiff that she needed to provide a firm retirement

date by the end of the week. Id. ¶ 40. Plaintiff alleges that there were subsequent continued

attempts to coerce Plaintiff to set a retirement date and develop a separation plan. Id. ¶ 41.

Meanwhile, the younger employee allegedly told Plaintiff that “he was at the beginning of his

career while [she] was at the end of hers.” Id.

       Plaintiff allegedly complained about her supervisor’s discriminatory conduct by writing

letters to Defendant on June 17, 2021, August 18, 2021, and March 20, 2022. Id. ¶ 46. Plaintiff

also claims that her concerns have been raised through correspondence sent to Defendant by

Plaintiff’s counsel, although she provides no dates for this correspondence. Id. ¶ 47.



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       Plaintiff filed a charge of discrimination with the Equal Employment Opportunity

Commission (“EEOC”) on June 13, 2023. Id. ¶ 13. On October 6, 2023, the EEOC issued a

Notice of Right to Sue. Id. ¶ 14. Plaintiff filed this action on October 20, 2023. Doc. 1.

                                      LEGAL STANDARD

       Under Federal Rule of Civil Procedure 12(b)(6), a case may be dismissed when a plaintiff

fails to state a claim upon which relief can be granted. A Rule 12(b)(6) motion is a challenge to

the sufficiency of a complaint, not its merits. See Gibson v. City of Chicago, 910 F.2d 1510,

1520 (7th Cir. 1990). When considering such a motion, the Court accepts as true all well-pleaded

facts in the complaint and draws all reasonable inferences from those facts in the plaintiff's favor.

See Kubiak v. City of Chicago, 810 F.3d 476, 480–81 (7th Cir. 2016). To survive a motion to

dismiss, a plaintiff need only include “a short and plain statement of a claim that is plausible on

its face and entitles them to relief.” Roldan v. Stroud, 52 F.4th 335, 339 (7th Cir. 2022). The

short and plain statement must “give the defendant fair notice of what the claim is and the

grounds upon which it rests.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007). A claim is

facially plausible “when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). The factual allegations in the complaint must be sufficient to “raise a

right to relief above the speculative level.” Twombly, 550 U.S. at 555. Threadbare recitals of the

elements of a cause of action and allegations that are merely legal conclusions are not sufficient

to survive a motion to dismiss. See Iqbal, 556 U.S. at 678.

                                            ANALYSIS




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       Defendant seeks dismissal of Plaintiff’s Section 1981, Title VII, and ADEA claims on

three different grounds. First, Defendant asserts that Plaintiff’s hostile work environment claims

under Title VII and the ADEA are time barred to the extent they rely upon acts prior to August

18, 2022. Second, Defendant argues that all of Plaintiff’s hostile work environment claims

should be dismissed because Defendant’s allegedly discriminatory conduct was not severe or

pervasive. Third, Defendant claims that Plaintiff’s retaliation claims should be dismissed because

no materially adverse action occurred after Plaintiff’s complaints of discrimination. The Court

will address each argument in turn.

   A. Timeliness

       Before a plaintiff may sue under Title VII and the ADEA, she must first file a charge

with the EEOC. 42 U.S.C. § 2000e-5(e)(1); 29 U.S.C. § 626(d)(1). In Illinois, this charge must

be submitted within 300 days of the allegedly unlawful employment practice. See Bass v. Joliet

Pub. Sch. Dist. No. 86, 746 F.3d 835, 839 (7th Cir. 2014) (“Title VII provides that a charge of

employment discrimination must be filed with the EEOC within 300 days of the alleged unlawful

employment practice, in deferral states like Illinois”); Flannery v. Recording Indus. Ass'n of Am.,

354 F.3d 632, 637 (7th Cir. 2004) (“In Illinois, an employee may sue under the ADEA ... only if

[she] files a charge of discrimination with the EEOC within 300 days of the alleged unlawful

employment practice”). In this case, Plaintiff’s EEOC charge was filed on June 13, 2023.

Therefore, all conduct that occurred more than 300 days prior to this date, i.e., discriminatory

acts that occurred before August 18, 2022, ordinarily would be time-barred.

       Plaintiff argues that there is no time barring in this case because her hostile work

environment claim constitutes a continuing violation. In National Railroad Passenger Corp. v.

Morgan, 536 U.S. 101, 117-120 (2002), the Supreme Court held that hostile workplace claims



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may survive even if they depend upon conduct more than 300 days before the EEOC charge was

filed if the claim involves “the same type of employment actions, [which] occurred relatively

frequently, and were perpetrated by the same managers” such that all constitute “the same

actionable hostile environment claim.” Under the continuing violation doctrine, “[i]t does not

matter, for purposes of the statute, that some of the component acts of the hostile work

environment fall outside the statutory time period. Provided that an act contributing to the claim

occurs within the filing period, the entire time period of the hostile environment may be

considered by a court for the purposes of determining liability.” Id. at 117.

       A key part of the continuing violation doctrine is that the hostile workplace was

continuous. For that reason, the Seventh Circuit has found that the continuing violation doctrine

cannot be used to tie together hostile environment claims separated by gaps in time. See

Milligan-Grimstad v. Stanley, 877 F.3d 705, 713 (7th Cir. 2017) (declining to apply the

continuing violation doctrine when there was a gap of two or three years between episodes of

harassment); Tinner v. United Ins. Co. of Am., 308 F.3d 697, 708-09 (7th Cir. 2002) (holding that

a two year gap was too long in part because “if the employee knew, or with the exercise of

reasonable diligence should have known, that each act, once completed, was discriminatory, the

employee must sue upon that act within the relevant statutory period”). Moreover, “[w]hen

determining whether gaps in the alleged conduct prevent it from forming a single employment

practice, [the Seventh Circuit has] demanded that plaintiffs provide more than speculative,

unspecific assertions.” 877 F.3d at 713.

       In this case, Plaintiff’s complaint is divided into three sections alleging facts

corresponding to three time periods that Plaintiff believes demonstrate illegal discrimination by

Defendant: (1) the 2018 contract negotiation and subsequent criticisms of Plaintiff’s demeanor;



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(2) the January 2020 promised promotion and raise, which promotion was not effectuated until

January 2021 and which never resulted in a pay increase; and (3) the pressure to retire, which

began in September 2022. Only the first and third categories of evidence support Plaintiff’s

hostile work environment claims.1 For the reasons that follow, the Court finds that these

allegations do not support a finding of a single continuous hostile workplace claim.

        According to the complaint, the first acts demonstrating a hostile work environment

occurred between November 2018 and June 2020, following Plaintiff’s contract negotiations for

the e-procurement system. During this time Plaintiff was scolded for being too sensitive, told that

she was aggressive and hostile, and coached to display less ego and more empathy. More than

two years later, in September 2022, the complaint alleges that Plaintiff’s supervisors began a

pressure campaign to get her to retire in order to retain and promote a younger co-worker. There

is seemingly nothing to connect the 2018 to 2020 conduct with the 2022 conduct and the

complaint does not describe any hostility experienced by Plaintiff between June 2020 and

September 2022. Moreover, the types of hostility Plaintiff experienced were of differing types

(first personal criticism and later encouragement to retire) and seemingly based upon different

protected characteristics (first race and gender then age). Thus, even viewing the facts in

Plaintiff’s favor and drawing all reasonable inferences therefrom, the complaint does not allege a

single actionable hostile environment claim. For these reasons the Court finds that the 2018 to

2020 conduct is time-barred and cannot be used to support Plaintiff’s hostile work environment

claims under Title VII (Count IV) and the ADEA (Count VII).

    B. Hostile Work Environment Claims (Counts I, IV, and VII)


1
  Disparate pay claims are distinct from hostile work environment claims. Plaintiff has pled that she
received a promotion but not the appropriate raise; she has not pled that this affected her day-to-day
workplace environment in any way. The Court is not aware of, and Plaintiff has not cited, any cases in
which disparate pay was used to support a finding of a hostile work environment.
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       The next question is whether, considering the above evidentiary limitations, Plaintiff has

plausibly alleged that she was subjected to a hostile work environment because of her race,

gender or age. To state a hostile work environment claim, a plaintiff must allege that (1) she was

subjected to unwelcome harassment; (2) the harassment was based on a protected characteristic;

(3) the harassment was severe or pervasive so as to alter the conditions of employment and create

a hostile or abusive working environment; and (4) there is a basis for employer liability. Alamo v.

Bliss, 864 F.3d 541, 549 (7th Cir. 2017) (elements under Title VII); Dandy v. United Parcel

Service, Inc., 388 F.3d 263, 271 (7th Cir. 2004) (elements under Section 1981); Brooks v.

Avancez, 39 F.4th 424, 441 (7th Cir. 2022) (elements under the ADEA). Whether the workplace

is hostile depends on the totality of the circumstances, including “the frequency of the

discriminatory conduct; its severity; whether it is physically threatening or humiliating, or a mere

offensive utterance; and whether it unreasonably interferes with an employee's work

performance.” Alamo, 864 F.3d at 549–50. Although “a workplace need not be ‘hellish’ to

constitute a hostile work environment, a hostile work environment must be so pervaded by

discrimination that the terms and conditions of employment are altered.” Id.

       While the dispute between the parties centers on whether the conduct was severe or

pervasive, the Seventh Circuit has found it “premature at the pleadings stage to conclude just

how abusive [a plaintiff's] work environment was.” Huri v. Off. of the Chief Judge of the Cir. Ct.

of Cook Cnty., 804 F.3d 826, 834 (7th Cir. 2015). Instead, this Court focuses on whether a

plausible allegations of abusiveness have been pled. Id. In making this determination, the Court

is mindful of Rule 8’s “undemanding standard” of notice pleading. See Tate v. SCR Medical

Transp., 809 F.3d 343, 346 (7th Cir. 2015); see also Tamayo v. Blagojevich, 526 F.3d 1074,

1081 (7th Cir. 2008) (discussing how complaint that puts defendant on fair notice of a claim



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“need not allege all, or any, of the facts logically entailed by the claim and it certainly need not

include evidence.”).

        Beginning with the hostile work environment claim in Count VII, which alleges an age-

based pressure campaign to get Plaintiff to retire in order to placate a younger colleague, the

Court finds that Plaintiff has plausibly alleged a claim.2 Depending upon how frequent, pointed,

and offensive the retirement comments were – which facts Plaintiff need not detail in her

complaint – such conduct could conceivably rise to the level of a hostile work environment. The

Court therefore denies the motion to dismiss as to Count VII.

        Count IV alleges under Title VII a hostile work environment based upon Plaintiff’s race

and gender. As is discussed above, Title VII requires that Plaintiff’s claims be brought to the

EEOC within 300 days of the wrongful conduct. Because Plaintiff did not do so, the Court has

excluded as time-barred all of the evidence in Plaintiff’s complaint regarding the criticisms of

Plaintiff’s conduct and demeanor. The Court does not believe that the later comments urging

Plaintiff to retire can plausibly be linked to Plaintiff’s race or gender. Without any timely

allegations in support of race-based or gender-based harassment, Count IV is therefore

dismissed. To the extent Plaintiff believes that she can re-plead to allege a continuing hostile

work environment that post-dated August 18, 2022, she is granted leave to amend the complaint.

        This leaves Count I, a hostile work environment claim based upon race in violation of

Section 1981. Section 1981 claims do not need to be brought to the EEOC within 300 days,

therefore all of the conduct alleged in the complaint may be considered for this claim. As with

Count VII, the Court finds that Plaintiff has adequately stated a claim for relief. Again,

depending upon how frequent, pointed, and offensive the comments about Plaintiff’s demeanor


2
 As this conduct allegedly began in September 2022, all of Plaintiff’s allegations in support of Count VII
are unaffected by any time-bar issues.
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were, it is possible that Plaintiff could prove that her workplace was hostile or abusive. A “severe

episode that occurs as rarely as once and a relent-less pattern of lesser harassment” may both be

violations. Alamo, 864 F.3d at 550 (“There is no ‘magic number’ of instances or type of slur that

indicates a hostile work environment.”). Plaintiff has tacitly conceded that the comments about

her behavior did not rise to the level of severe abuse. But they may have been pervasive, and

Rule 8 does not require Plaintiff to allege every instance of abuse in order to survive a Rule

12(b)(6) motion. The motion to dismiss Count I is therefore denied.

   C. Retaliation Claims (Counts III, VI, and IX)

       Plaintiff also alleges Defendant retaliated against Plaintiff due to Plaintiff’s complaints

about race, gender, and age discrimination. A retaliation claim requires the plaintiff to allege that

she “engaged in statutorily protected activity and was subjected to adverse employment action as

a result of that activity.” Luevano v. Wal-Mart Stores, Inc., 722 F.3d 1014, 1029 (7th Cir. 2013)

(elements under Title VII); see also Humphries v. CBOCS W., Inc., 474 F.3d 387, 404 (7th Cir.

2007) (Section 1981); Lauth v. Covance, Inc., 863 F.3d 708, 716 (7th Cir. 2017) (ADEA). The

protected activity must be specifically identified, and the adverse employment action “must be

one that a reasonable employee would find to be materially adverse such that the employee

would be dissuaded from engaging in the protected activity.” Roney v. Illinois Dep't of Transp.,

474 F.3d 455, 461 (7th Cir. 2007). The Seventh Circuit has outlined three categories of adverse

employment actions: “(1) cases in which the employee's compensation, benefits or other

financial terms of employment are diminished, including cases where employment is terminated;

(2) cases in which a nominally lateral transfer without a change in financial terms significantly

reduces the employee's career prospects by preventing [her] from using the skills in which [she]

is trained and experienced; and (3) cases in which the employee is not moved to a different job or



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the skill requirements of [her] present job altered, but the conditions in which [she] works are

changed in a way that subjects [her] to a humiliating, degrading, unsafe, unhealthful, or

otherwise significantly negative alteration in [her] workplace environment—an alteration that

can fairly be characterized as objectively creating a hardship, the classic case being that of the

employee whose desk is moved into a closet.” Tart v. Illinois Power Co., 366 F.3d 461, 475 (7th

Cir. 2004). While Plaintiff need not “present proof of a causal link between the protected

expression ... and the adverse employment action” at this stage, Luevano, 722 F.3d at 1029, there

must be some facts from which one could draw the inference that the protected activity could

have caused the adverse employment action. See Cervantes v. Ardagh Group, 914 F.3d 560, 566

(7th Cir. 2019).

       Defendant does not dispute that Plaintiff has adequately pled that she engaged in

statutorily protected activity when she complained of discrimination on June 17, 2021, August

18, 2021, and March 20, 2022. Doc. 36 ¶46. But Defendant does dispute whether Plaintiff has

adequately alleged an adverse employment action as a result of those complaints. Plaintiff

contends that she suffered adverse employment actions when she was isolated from the e-

procurement vendor communications, prohibited from executing the deal, delayed in her

promotion, and paid less than her position dictated. However, most of these actions preceded

Plaintiff’s complaints of discrimination. Specifically, Plaintiff’s dealings with the e-procurement

vendor, execution of that deal, and the delay in Plaintiff’s promotion all occurred prior to

January 15, 2021 – well before Plaintiff’s first discrimination complaint in June 2021. Only the

failure to increase Plaintiff’s pay took place after Plaintiff’s complaints of discrimination. The

“the denial of a raise can constitute a materially adverse employment action if a raise would have

been an expected element of the employee's salary and its denial cuts the salary in real terms.”



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Griffin v. Potter, 356 F.3d 824, 830 (7th Cir. 2004). In this case, Plaintiff has alleged that she

was promised a raise to her salary, made complaints to Defendant about discrimination, and

never received the raise. This continued refusal to increase Plaintiff’s pay after she was promoted

to Executive Director could constitute a materially adverse action. At this stage in the

proceedings, Plaintiff has adequately pled a retaliation claim for Counts III, VI, and IX.

                                          CONCLUSION

       For the foregoing reasons, Defendant’s motion to dismiss is granted as to Count IV and

denied as to all other Counts, with the caveats set forth in this opinion. Plaintiff may amend the

complaint to attempt to correct any of the deficiencies noted herein by June 9, 2025.




Dated: May 9, 2025                                             ______________________
                                                               APRIL M. PERRY
                                                               United States District Judge




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